May 05, 2006


Ms. Diana L. Faust
Cooper &amp; Scully, P.C.
900 Jackson Street, Suite 100
Dallas, TX 75202

Mr. Timothy G. Chovanec
Law Offices of Timothy G. Chovanec, P.C.
314 Main Street, Suite 300
Fort Worth, TX 76102
Honorable Vicki B. Isaacks
393rd District Judge
1450 E. McKinney Street
Denton, TX 76201

RE:   Case Number:  06-0107
      Court of Appeals Number:  02-04-00275-CV
      Trial Court Number:  2002-60191-393

Style:      IN RE  RON SMITH

Dear Counsel:

      Pursuant to Texas Rule of Appellate Procedure 52.8(c), without hearing
oral argument, the Court conditionally grants in part  and  denies  in  part
the petition for writ of mandamus and  delivered  the  enclosed  per  curiam
opinion in the above-referenced cause.  The stay order issued March 9,  2006
is lifted.


                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Ms. Stephanie    |
|   |Lavake           |
|   |Ms. Sherri       |
|   |Adelstein        |
|   |Mr. R. Brent     |
|   |Cooper           |

